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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

MATTHEW COX,

      Plaintiff,

v.                                                     Case No: 8:17-cv-3108-T-35JSS

INCARCERATED ENTERTAINMENT,
LLC, WARNER BROS. PICTURES, a
division of WB Studio Enterprises, Inc.,
EFRAIM DIVEROLI, and ROSS
REBACK, as the Estate of,

      Defendants.


                   ORDER OF DISMISSAL WITHOUT PREJUDICE

      This CAUSE comes before the Court sua sponte. On April 18, 2018, this Court

directed Plaintiff to show cause why this case should not be dismissed for failure to

properly serve Defendants. (Dkt. 7) Plaintiff had fourteen (14) days from the date of that

Order to respond. (Id.) As of the date of this Order, Plaintiff has not responded to the

show cause order and has not otherwise demonstrated that he has effected service on

Defendants.

      Accordingly, it is hereby ORDERED that Plaintiff’s Complaint, (Dkt. 1), is hereby

DISMISSED WITHOUT PREJUDICE. The Clerk is directed to TERMINATE any pending

motions and CLOSE this case.

      DONE and ORDERED at Tampa, Florida this 3rd day of May, 2018.
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Copies furnished to:
Counsel of Record
Any Unrepresented Party
